Case 2:24-cv-12962-GAD-EAS ECF No. 75-8, PagelD.5411 Filed 02/21/25 Page 1of1

a Outlook

Re: Attempt to Reopen Case No. 2020-880799-DC

From MATT OLIVER <mattmwo@hotmail.com>
Date Wed 2/19/2025 3:11 PM
To = Shari * <jebezob@hotmail.com>

Shared custody isn't an option at this point.

I've suggested you move closer to Marisa and Matthew but you refuse to.

It's not possible for you to have them the first half of the year as they would miss school.

Our Child Support case was never supposed to be closed after you paid the amount owed. It was
supposed to be paused with a deviation.

Child Support is in the best interest of our children. It helps provide them food, clothing, and other
important daily necessities.

From: Shari * <jebezob@hotmail.com>

Sent: Wednesday, February 19, 2025 10:47 AM

To: MATTMWO@hotmail.com OLIVER <mattmwo@hotmail.com>
Subject: Attempt to Reopen Case No. 2020-880799-DC

Hi Matt,

| received a motion you made to reopen Case No. 2020-880799-DC. Will you withdraw your motion? If
not, | will move to strike it.

| will NOT pay you "child support", which is a kidnapping fee for which | an NOT your slave and | am NOT
FOC's slave. | will financially support Marisa and Matthew when | have custody of them. Would you like
to discuss when you will have custody of Marisa and Matthew and when | will have custody? Probably,
my preference would be to have custody of Marisa and Matthew the first half of the year, you the
second half of the year, and we would alternate who has them for Christmas.

It looks like you did not pay the filing fee for your motion, and | am hoping that is true. | do not want
you or anyone to pay these alleged family court/FOC criminals and their criminal enterprise any more
money.

Please let me know by the end of the day tomorrow, Thursday, about whether or not you will withdraw
your motion.

Thank you,
Shari
